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    EXHIBIT P
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                      Case No. 1:25-cv-00339-JDB

DEPARTMENT OF LABOR, et al.,

Defendants.




               DECLARATION OF INGELA DAHLGREN, SEIU MEMBER


I, Ingela Dahlgren, declare as follows:


     1. I am a retiree member of the Service Employees International Union (“SEIU”). I submit

        this declaration in support of Plaintiffs’ application for a temporary restraining order in

        this matter. The statements made in this declaration are based on my personal knowledge.


     2. I have been a member of SEIU since 2001. Prior to my retirement, I worked as a

        Registered Nurse for 35 years. Beginning in 1971, I was a trauma critical care nurse at a

        Level 1 trauma hospital. I was active in my union, serving as a nurse organizer and

        eventually I became the Executive Director of the SEIU Nurse Alliance of California.

        Over the years, I also participated in many actions organized by SEIU to advocate for

        increased access to healthcare, including speaking with my elected officials about the

        importance of the Medicaid and Medicare program and both advocating for the passage

        of the Affordable Care Act (“ACA”) and working hard to defend it against repeal. In my

        many many years of health advocacy, I worked to establish workplace violence
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   protections to keep nurses safe, lobbied CAL OSHA for regulations to protect medical

   workers who fell ill on the job during pandemics, fought to make sure hospitals had

   adequate PPE supplies and stockpiles, and continuously worked to create and maintain a

   safe nurse-to-patient ratio in hospitals.


3. I currently receive my primary healthcare coverage through Medicare and have received

   care through Medicare starting in 2017. Through Medicare, I am able to access all of the

   critical care that I need to maintain a healthy lifestyle.


4. It is my understanding that Defendants have decided to give access to my personal

   information to the Department of Government Efficiency (“DOGE”) and/or individuals

   associated with DOGE.


5. I have not consented to, and I do not consent to, giving the DOGE and/or individuals

   associated with the DOGE access to my personal information stored in HHS’ systems or

   records.


6. The privacy of my personal information is very important to me. Because I am a

   Medicare beneficiary, HHS necessarily has personal information about me. I have trusted

   the government to maintain the privacy of my information and to only use my

   information for lawful purposes. I am disturbed, anxious, and frustrated by the prospect

   that the government may violate my privacy and disclose my personal information to

   third parties, such as the DOGE, without my consent.


7. As a Registered Nurse, the confidentiality of a patient’s medical information is the

   cornerstone of patient care and is something that I took very seriously in all my years as a
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       medical provider. If patients do not believe that their medical information will be

       confidential, they will be reluctant to speak openly with their medical providers about any

       health concerns or issues they may be having. It would be impossible to provide high

       quality patient care under these circumstances.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on February 10, 2025, in Newbury Park, California.




                                                              /s/ Ingela Dahlgren
                                                              Ingela Dahlgren
